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                       DEVELOPMENT LLC
                  12

                  13                        UNITED STATES DISTRICT COURT
                  14                      CENTRAL DISTRICT OF CALIFORNIA
                  15 WHITNEY ALONDRA CHABELA,                 Case No. TBD
                     an individual; DIANA VEGA, an
                  16 Individual,                              DEFENDANTS AUTOZONERS LLC
                                                              AND AUTOZONE DEVELOPMENT
                  17              Plaintiffs,                 LLC’S PETITION AND NOTICE OF
                                                              REMOVAL
                  18        v.
                                                              [Filed concurrently with Certificate of
                  19
                     AUTOZONERS LLC, a Limited                Interested Parties; Civil Cover Sheet;
                                                              Corporate Disclosure Statement; Notice of
                  20 Liability Company; AUTOZONE              Related Case; and Declarations of Jesus
                     DEVELOPMENT LLC, a Limited               Bermea, Patrick Johnson, and Graham
                  21 Liability Company; and DOES 1-50,        Hoerauf]
                  22              Defendants.                 Complaint Filed: December 2, 2021
                                                              Trial Date:      None
                  23                                          District Judge: Hon. TBD
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                                                                                           Case No. TBD
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                   1           TO THE UNITED STATES DISTRICT COURT FOR THE CENTRAL
                   2   DISTRICT OF CALIFORNIA – WESTERN DIVISION, TO PLAINTIFFS
                   3   AND THEIR ATTORNEYS OF RECORD:
                   4           PLEASE TAKE NOTICE that Defendants Autozoners, LLC (“Autozoners”)
                   5   and AutoZone Development, LLC (“Autozone Development”) (collectively,
                   6   “AutoZone”) hereby remove this action from the Superior Court of the State of
                   7   California for the County of Los Angeles to the United States District Court for the
                   8   Central District of California, pursuant to 28 U.S.C. §§ 1332 and 1441(b) on the
                   9   grounds that complete diversity of citizenship exists between Plaintiffs Whitney
                  10   Alondra Chabela (“Chabela”) and Plaintiff Diana Vega (a.k.a Diane Segoviano or
                  11   “Vega” ) (collectively, “Plaintiffs”). Plaintiffs are citizens of California, while
                  12   AutoZoners is a citizen of Nevada and Tennessee, and AutoZone Development is a
                  13   citizen of a citizen of Nevada and Tennessee. As expressly set forth in the
                  14   Complaint, the amount in controversy exceeds the jurisdictional minimum of
                  15   $75,000, as required by section 1332(a). The foregoing facts were true at the time
                  16   the Complaint in this matter was filed and remain true as of the date of the filing of
                  17   this Notice of Removal, as more fully set forth below on the following grounds:
                  18   I.      The State Court Action
                  19           1.    On December 2, 2021, Plaintiffs filed an action against Defendants
                  20   entitled “Whitney Alondra Chabela, an individual; Diana Vega, an individual v.
                  21   Autozoners, LLC, a limited liability company; Autozone Development, LLC, a
                  22   limited liability company; and DOES 1-50” in Los Angeles Superior Court, Case
                  23   Number 21CHCV00918.
                  24           2.    On December 14, 2021, Plaintiffs served each of Autozoners’ and
                  25   AutoZone Development’s agents for service of process, CT Corporation System,
                  26   with the following documents: a document entitled “Process Servire Delivery
                  27   Details”; Summons; Complaint for Damages with Demand for Jury Trial; Civil Case
                  28   Cover Sheet and Addendum; and Notice of Case Assignment – Unlimited Civil
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                   1   Case. A true and correct copy of the Complaint and all related documents served on
                   2   each of the Defendants are attached as Attachment A.
                   3            3.    On December 6, 2022, the Los Angeles Superior Court issued a “Notice
                   4   of Case Management Conference.” On December 28, 2022, Plaitniff filed two
                   5   separate “Proof of Personal Service” documents purporting to have served the
                   6   aforemention Notice of Case Manager Conference” on each Defendant. A true and
                   7   correct copy of all documents appearing on the Los Angeles Superior Court Docket
                   8   as of January 11, 2022, incuding the Notice of Case Management and two proofs of
                   9   service, are attached as Attachment B.
                  10            4.    The Complaint alleges that Plaintiffs were not paid all wages owed and
                  11   were sexually harassed by a customer while working for Defendants. Specifically,
                  12   Plaintiffs assert the following causes of action: (1) hostile work environment/sexual
                  13   harassment; (2) failure to prevent harassment; (3) intentional infliction of emotional
                  14   distress; (4) failure to pay timely wages; (5) failure to pay compensation due upon
                  15   termination; (6) failure to provide accurate wage statements; (7) failure to provide
                  16   rest break; (8) failure to provide meal break; and (9) unfair competition. See Compl.,
                  17   generally.
                  18            5.    On January 12, 2022, Defendants filed their Answer in Los Angeles
                  19   County Superior Court (“Answer”.) A true and correct copy of the Answer is
                  20   attached hereto as Attachment C.
                  21   II.      Removal is Timely
                  22            6.    A defendant in a civil action has thirty (30) days from the date it is
                  23   validly served with a summons and complaint to remove the action to federal court.
                  24   28 U.S.C. § 1446(b) (“The notice of removal of a civil action or proceeding shall be
                  25   filed within 30 days after the receipt by the defendant, through service or otherwise,
                  26   of a copy of the initial pleading setting forth the claim for relief upon which such
                  27   action or proceeding is based…”); Murphy Bros., Inc. v. Michetti Pipe Stringing,
                  28   ///
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                   1   Inc., 526 U.S. 344, 354 (1999) (faxed file-stamped copy of complaint did not trigger
                   2   removal period).
                   3          7.    Defendants were each served with the complaint on December 14, 2021
                   4   (Exhibit A). Here, the removal is timely because Defendants are filing this Notice of
                   5   Removal within thirty (30) days of when service on Defendants was completed. See
                   6   Fed. R. Civ. P. 26.
                   7   III.   Complete Diversity Exists Between the Parties
                   8          8.    Plaintiffs are Citizens of California. For diversity purposes, a person
                   9   is a “citizen” of the state in which he is domiciled. Kantor v. Wellesley Galleries,
                  10   Ltd., 704 F.2d 1088, 1090 (9th Cir. 1983). A person’s domicile is the place he
                  11   resides with the intention to remain or to which he intends to return. Kanter v.
                  12   Warner-Lambert Co., 265 F.3d 853, 857 (9th Cir. 2001).
                  13          9.    Chabela worked for AutoZoners from approximately January 27, 2021
                  14   through August 30, 2021 (which was the last day she reported to work with
                  15   AutoZoners. See Declaration of Jesus Bermea (“Bermea Decl.”), ¶ 4. Throughout
                  16   her employment with AutoZoners, Chabela worked within California. Id. at ¶ 6.
                  17   Throughout her employment, Chabela was required to provide her residential address
                  18   to AutoZoners. Id. at ¶ 4. Chabela maintained a residential address with California.
                  19   Id. Chabela also alleges she resided and worked in Los Angeles, California at all
                  20   times relevant to the Complaint. Compl., ¶¶ 3, 5. Therefore, according to Chabela’s
                  21   own allegations and AutoZoners’ business records, Chabela is a resident of
                  22   California for purposes of diversity jurisdiction.
                  23          10.   Vega worked AutoZoners from approximately January 20, 2020
                  24   through August 17, 2021. Bermea Decl., ¶ 5. Throughout her employment with
                  25   AutoZoners, Vega worked within California. Id. at ¶ 6. Throughout her
                  26   employment, Vega was required to provide her residential address to AutoZoners.
                  27   Id. at ¶ 5. Vega maintained a residential address with California. Id. Vega also
                  28   ///
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                   1   alleges she resided and worked in Los Angeles, California at all times relevant to the
                   2   Complaint. Compl., ¶¶ 3, 5.
                   3         11.       Therefore, according to Vega’s own allegations and AutoZoners’
                   4   business records, Vega is a resident of California for purposes of diversity
                   5   jurisdiction.
                   6         12.       Defendants Are Not Citizens of California. AutoZoners and
                   7   AutoZone Development are now, and were at the time of filing this action, citizens
                   8   of states other than California. See Declaration of Patrick Johnson (“Johnson
                   9   Decl.”), ¶¶ 3-4. For diversity purposes, the citizenship of a limited liability company
                  10   is determined by examining the citizenship of each member of the company. See
                  11   D.B. Zwirn Special Opportunities Fund, L.P. v. Mehrotra, 661 F3d 124, 125-26 (1st
                  12   Cir. 2011); Rolling Greens MHP, L.P. v. Comcast SCH Holdings, L.L.C., 374 F3d
                  13   1020, 1021-22 (11th Cir. 2004).
                  14         13.       AutoZoners and AutoZone Development are both limited liability
                  15   companies organized under the laws of the State of Nevada. Johnson Decl., ¶¶ 3, 4.
                  16         14.       AutoZoners is a limited liability company organized under the laws of
                  17   Nevada and is headquartered in Memphis, Tennessee. Id. at ¶ 3. AutoZoners sole
                  18   member is AutoZone Investment Corporation, which is incorporated in the State of
                  19   Nevada and is headquartered in Memphis, Tennessee. Id.
                  20         15.       AutoZone Development is a limited liability company organized under
                  21   the laws of Nevada and is headquartered in Memphis, Tennessee. Id. at ¶ 4.
                  22   AutoZone Development does not employ any individuals that work in retail stores in
                  23   California and, instead, it manages and leases real estate properties. Id. However, it
                  24   has not managed any properties in California since 2014. Id. AutoZone
                  25   Development’s sole member is AutoZone Investment Corporation, which, as stated
                  26   above, is incorporated in Nevada with a principal place of business in Tennessee. Id.
                  27         16.       Therefore, according to Defendants’ business records, AutoZone
                  28   Development and AutoZoners are each citizens Tennesse and Nevada for purposes
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                   1   of diversity jurisdiction. There is complete diversity of citizenship between
                   2   Plaitniffs and Defendants.
                   3         17.    The Citizenship of “Doe Defendants” Must be Disregarded. The
                   4   citizenship of fictitiously-named “Doe” defendants is to be disregarded for the
                   5   purposes of removal. 28 U.S.C. § 1441(a). The inclusion of “Doe” defendants in a
                   6   state court complaint has no effect on removability; only the named defendants are
                   7   considered for diversity purposes. Newcombe v. Adolf Coors Co., 157 F. 3d 686,
                   8   690-91 (9th Cir. 1998).
                   9         18.    Jurisdiction is Proper in this Court. This Court has jurisdiction over
                  10   the case based on diversity jurisdiction pursuant to 28 U.S.C. §§ 1332(a) and
                  11   1441(a), in that, Plaintiff is a citizen of California and neither of the Defendants are
                  12   citizens of California. Therefore, complete diversity among the parties exists now,
                  13   and did so at the time of the filing of the Complaint on December 2, 2021.
                  14   IV.   The Amount in Controversy Exceeds an Aggregate of $75,000, Exclusive
                  15         of Interest and Costs
                  16         19.    This Court has original jurisdiction over the case pursuant to United
                  17   States Code, Title 28, Sections 1332(a) and 1441(a), on the basis that the amount in
                  18   controversy exceeds the requisite $75,000 minimum, exclusive of interest and costs.
                  19         20.    Here, this Court’s jurisdictional minimum of an amount in controversy
                  20   in excess of $75,000 was satisfied at the time of the filing of this action, and still is
                  21   satisfied, by the facts set forth herein and more specifically described below.
                  22         21.    Removal is proper if, from the allegations of the Complaint and the
                  23   Notice of Removal, it is more likely than not that the claim exceeds $75,000.
                  24   Sanchez v. Monumental Life Insurance Co., 102 F. 3d 398. 403-04 (9th Cir. 1996).
                  25   A defendant need only establish, by a preponderance of the evidence, that the
                  26   plaintiff’s jurisdictional claims exceed the jurisdictional minimum. See Valdez v.
                  27   Allstate Insurance Co., 372 F. 2d 1115, 1117 (9th Cir. 2004).
                  28   ///
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                   1         22.    In determining whether the jurisdictional minimum has been met, the
                   2   Court should consider all recoverable damages, including compensatory damages,
                   3   emotional distress damages, attorney’s fees, statutory penalties, and punitive
                   4   damages. See Hunt v. Washington State Apple Advertising Comm’n, 432 U.S. 333,
                   5   347-48 (1977); Galt G/S v. JSS Scandinavia, 142 F.3d 1150, 1155-56 (9th Cir.
                   6   1998); Simmons v. PCR Tech, 209 F. Supp. 2d 1029, 1031 (N.D. Cal. 2002). The
                   7   proper calculation of these damages include those that can reasonably be anticipated
                   8   at the time of removal - not merely those already incurred. Simmons v. PCR Tech.,
                   9   209 F. Supp. 2d 1029, 1035 (N.D. Cal. 2002); see also Celestino v. Renal Advantage
                  10   Inc., No. C 06-07788 JSW, 2007 WL 1223699 (N.D. Cal. April 24, 2007) (“[T]he
                  11   amount in controversy includes not only damages accrued up to the time of removal,
                  12   but also a reasonable assessment of damages likely to be accrued after the time of
                  13   removal”).
                  14         23.    Here, Defendants satisfy their burden to establish the jurisdictional
                  15   minimum is met. See Kenneth Rothschild Trust v. Morgan Stanley Dean Witter, 199
                  16   F. Supp. 2d 993, 1001 (C.D. Cal. 2002) (“In measuring the amount in controversy, a
                  17   court must ‘assum[e] that the allegations of the complaint are true and assum[e that]
                  18   a jury [will] return[] a verdict for the plaintiff on all claims made in the complaint.”).
                  19   Congress has provided clarification for determining the amount in controversy in
                  20   cases removed from state court. See The Federal Courts Jurisdiction and Venue
                  21   Clarification Act of 2011, Act of December 7, 2011, § 103(a), Pub. L. No. 112-63
                  22   (H.R. 394), 125 Stat. 758 (2011). Specifically, it is now codified that the sum
                  23   demanded in a plaintiff’s initial pleading is the amount in controversy for purposes
                  24   of removal. Id.; see also Dart Cherokee Basin Operating Co., LLC v. Owens, 135 S.
                  25   Ct. 547, 551 (2014) (“If the plaintiff's complaint, filed in state court, demands
                  26   monetary relief of a stated sum, that sum, if asserted in good faith, is ‘deemed to be
                  27   the amount in controversy.’”).
                  28   ///
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                   1         24.    Where the state complaint alleges on its face an amount in controversy
                   2   that meets the federal jurisdictional threshold, courts regularly find the amount in
                   3   controversy requirement satisfied. See Hill v. Hill–Love, 509 Fed.Appx. 605, 606
                   4   (9th Cir. 2013) (ignoring plaintiff's “belated attempt to avoid federal jurisdiction”
                   5   and denying motion to remand where state complaint expressly alleged damages
                   6   exceeding $100,000); Perez v. Hermetic Seal Corp., 2016 WL 5477990, at *2 (C.D.
                   7   Cal. Sept. 27, 2016) (denying motion to remand where state complaint included
                   8   $250,000 demand, despite plaintiff's argument that it was a typographical error and
                   9   he intended to seek only $25,000); Wilder v. Bank of Am., N.A., 2014 WL 6896116,
                  10   at *4 (C.D. Cal. Dec. 5, 2014) (“In her complaint, Wilder seeks damages of ‘not less
                  11   than $1,500,000.’ Wilder cannot simply disavow this allegation that was included in
                  12   her state court complaint.”); Woodard v. Wells Fargo Bank, N.A., 2014 WL
                  13   3534086, *2 (C.D. Cal. July 16, 2014) (denying a motion to remand because “[t]he
                  14   amount in controversy exceed[ed] $75,000 as evidenced by Woodard's prayer for
                  15   relief of $1,500,000 in the Complaint”); BNSF Ry. Co. v. San Joaquin Valley R.R.
                  16   Co., 2008 WL 5046059, *3 (E.D. Cal. Nov. 21, 2008) (denying a motion to dismiss
                  17   for lack of subject matter jurisdiction because “it [did] not appear to a legal certainty
                  18   that BNSF's claims are really for less than $75,000”); Acosta v. Evergreen
                  19   Moneysource Mortgage Company, 2017 WL 3433205, *2 (E.D. Cal. Aug. 10, 2017)
                  20   (collecting cases). In short, where a complaint in a diversity jurisdiction case
                  21   expressly seeks damages beyond $75,000, remand based on the amount in
                  22   controversy is rarely appropriate.
                  23         25.    Here, Plaintiffs expressly seek to recover general and special damages,
                  24   including lost earnings and wages, emotional distress, attorney’s fees and costs,
                  25   penalties and punitive damages. See Compl. ¶¶ 43, 56, 61, 70-71, 81-82, 89, 99,
                  26   112, and Prayer for Relief ¶¶ 1-7. In fact, Plaintiffs have specifically alleged “general
                  27   damages of approximately $2,500,000,” “special damages of approximately
                  28   $500,000,” and “punitive damages of approximately $2,500,000.” See Compl.,
                                                               7                            Case No. TBD
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                   1   Prayer for Relief ¶¶ 1-3. Therefore, on its face, Plaintiffs’ Complaint greatly exceeds
                   2   the $75,000 amount in controversy requirement by seeking a specific sum of at least
                   3   $5.5 million.
                   4         26.    Even if Plaintiffs had not specifically alleged damages in excess of the
                   5   statutory minimum, the amount in controversy would still exceed $75,000. Based on
                   6   the other allegations in the Complaint, Defendants’ conservative, good faith estimate
                   7   of the value of this action if Plaintiffs prevail and recovers the damages that they
                   8   seek is well in excess of $75,000. Specifically, Defendants estimate the Plaintiffs
                   9   alleged emotional distress damages, punitive damages, and attorneys’ fees as
                  10   follows:
                  11         27.    Emotional Distress Damages. Plaintiffs allege that, as a result of
                  12   Defendants’ actions, they have suffered emotional distress. See, e.g., Compl., ¶ 54.
                  13   Unspecified mental and emotional distress damages are properly considered in
                  14   calculating the amount in controversy. See Simmons, supra, 209 F.Supp.2d at 1031–
                  15   35.
                  16         28.    To establish the amount of emotional distress damages in controversy, a
                  17   defendant may introduce evidence of jury verdicts in cases involving analogous
                  18   facts. See Simmons, supra, 209 F.Supp.2d at 1033 (permitting jury verdicts to be
                  19   introduced in order to establish the amount of damages at issue for purposes of
                  20   removal); Faulkner v. Astro-Med, Inc., No. C 99-2562 SI, 1999 U.S. Dist. LEXIS
                  21   15801, *4 (N.D. Cal. 1999). In California, courts have awarded substantial damages
                  22   for emotional distress in employment cases for sexual harassment. See, e.g., Megan
                  23   Meadowcroft, et al. v. Silverton Partners, Inc., et al. 2019 WL 7500400, Case No.
                  24   BC633239 (Los Angeles Sup. Ct. 2018) (imposing $2,500,000 award for past and
                  25   future non-economic damages, including emotional distress); see also Khan v.
                  26   Hologram USA Inc., et al., 2019 WL 8437091, Case No. BC654017 (Los Angeles
                  27   Sup. Ct. 2019) (imposing $8,000,000 for past and future economic damage and
                  28   emotional distress.); Hamilton v. First Transit, 2003 WL 22850502, Case No.
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                   1   BC262304 (Los Angeles Sup. Ct. 2003) ($300,000 emotional distress award in
                   2   sexual harassment case); Oliveras v. Dason, 2016 WL 1237910, Case No. CIVDS-
                   3   13-00810 (San Bernardino Sup. Ct. 2016) (imposing $1,000,000 emotional distress
                   4   award in sexual harassment case); Beasley v. East Coast Foods Inc. d/b/a Roscoe’s
                   5   House of Chicken N’ Waffles, 2015 WL 5678367, Case No. BC509995 (Los Angeles
                   6   Sup. Ct. 2015) (awarding $1,500,000 in compensatory pain and suffering damages in
                   7   sexual harassment lawsuit); Moran v. Shah, 2013 WL 4905337, Case No.
                   8   INC087504 (Riverside Sup. Ct. 2013) (issuing $250,000 emotional distress award).
                   9         29.    Therefore, if Plaintiffs were to prevail at trial, they potentional may be
                  10   awarded a substantial amount of emotional distress damages in addition to any award
                  11   for lost wages and benefits well in excess of $75,000.
                  12         30.    Punitive Damages. Plaintiffs’ also seek recovery for punitive or
                  13   exemplary damages. See, e.g., Compl. ¶ 42. “Where both actual and punitive
                  14   damages are recoverable under a complaint, each must be considered to the extent
                  15   claimed in determining jurisdictional amount.” Bell vs. Preferred Life Assurance
                  16   Soc’y, 320 U.S. 238, 240 (1943); Gibson v. Chrysler Corp., 261 F.3d 927, 945 (9th
                  17   Cir. 2001) (“It is well established that punitive damages are part of the amount in
                  18   controversy in a civil action.”); Simmons, supra, 209 F.Supp.2d at 1033 (court may
                  19   consider punitive damages recoverable under FEHA when determining the amount
                  20   in controversy).
                  21         31.    California courts have awarded plaintiffs significant punitive damages
                  22   in employment actions brought under the California Fair Employment and Housing
                  23   Act (“FEHA.”) See, e.g., Olivera, supra, 2016 WL 1237910 (imposing $100,000
                  24   punitive damage award in sexual harassment case); Hamilton, supra, 2003 WL
                  25   22850502, ($375,000 punitive damages award in sexual harassment case); Vaughn v.
                  26   Lalama, 2002 WL 1793685, Case No. CIV194895 (Ventura Sup. Ct. 2002)
                  27   ($1,000,0000 punitive damage award in sexual harassment case); Astor v. Rent-A-
                  28   Center Inc., 2005 WL 3642190, Case No. 03AS04864 (Sacramento Sup. Ct. 2005)
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                   1   ($1,000,000 punitive damages award in sexual harassment case); Moran, 2013 WL
                   2   4905337 ($1,000,000 punitive damages award).
                   3         32.    Indeed, in State Farm Mut. Automobile Ins. Co. v. Campbell, 538 U.S.
                   4   408 (2004), the United States Supreme Court held that the longstanding historical
                   5   practice of setting punitive damages at two, three, or four times the size of
                   6   compensatory damages, while “not binding,” is “instructive,” and that “single-digit
                   7   multipliers are more likely to comport with due process.”
                   8         33.    Therefore, if Plaintiffs were to prevail at trial, they could be awarded a
                   9   substantial amount of punitive damages well in excess of $75,000, which must be
                  10   taken into consideration in evaluating the amount-in-controversy requirement for
                  11   purposes of removal.
                  12         34.    Attorneys’ Fees. Attorney’s fees may also be included in the amount
                  13   in controversy if recoverable by statute or contract. Galt G/S, supra, 142 F.3d at
                  14   1155-56. Attorney’s fees are recoverable as a matter of right to the prevailing party
                  15   under the FEHA. See Cal. Gov. Code § 12965.
                  16         35.    Here, Plaintiffs seek attorneys’ fees under FEHA pursuant to the
                  17   California Government Code and under the Labor Code. See, e.g., Compl. ¶¶ 43, 89.
                  18         36.    Courts have awarded far in excess of $75,000 in attorney’s fees in
                  19   FEHA cases, including those with allegations of sexual harrasment. See, e.g.,
                  20   Salvaterra v. Taco Hut Mexican Grill, Case No. CIVDS1410925 (San Bernardino
                  21   Cty. Super. Ct.) (awarding attorney’s fees of $578,340 in FEHA case); Beasley,
                  22   supra, 2015 WL 5678367 (awarding attorney’s fees of $1,514,140 in sexual
                  23   harassment FEHA case jury verdict); Astor, supra, 2005 WL 3642190 (awarding
                  24   attorney’s fees of $924,982 in sexual harassment FEHA case jury verdict, which
                  25   includes a multiplier of two); Sazonova v. Security Marketing Concepts, Inc., 2011
                  26   WL 4377947, Case No. 30-2009-00315713 (Orange County Sup. Ct. 2011)
                  27   (awarding $277,475 in attorneys’ fees and costs); Orlando v. Carolina Casualty Ins.
                  28   ///
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                   2   Co., 2011 WL 7920642, Case No. 06-CECG-03839 (Fresno County Sup. Ct. 2011)
                   3   (imposing approximately $200,000 attorney fee award in sexual harassment case).
                   4         37.    Defendants anticipate multiple depositions being taken in this case,
                   5   including both plaintiffs, and that Defendants each will file separate Motions for
                   6   Summary Judgment. Based on defense counsel’s experience, it is more likely than
                   7   not that the fees will exceed $75,000 through discovery and a summary judgment
                   8   hearing, and the fees would certainly exceed $75,000 if the case proceeds to trial. See
                   9   Hoerauf Decl. at ¶ 3, Ex. A.
                  10         38.    Accordingly, based on a good faith estimate of the value of the claims
                  11   asserted on the face of the Complaint, it is “more likely than not” that the amount at
                  12   issue in this lawsuit exceeds the minimum amount required for diversity jurisdiction.
                  13   See, e.g., Sanchez v. Monumental Life Ins. Co., 102 F.3d 398, 404 (9th Cir. 1996);
                  14   Simmons, supra, 209 F. Supp. 2d at 1031-1035 (finding that the plaintiff’s alleged
                  15   lost income of $25,600 at the time of removal, included with unspecified amounts for
                  16   medical expense damages, emotional damages, punitive damages, and attorney’s
                  17   fees anticipated to incur through trial, satisfy the amount in controversy required to
                  18   establish diversity jurisdiction); White v. FCI USA, Inc., 319 F.3d 672, 674 (5th Cir.
                  19   2003) (a wrongful termination claim including a “lengthy list of compensatory and
                  20   punitive damages” including loss of pay, impaired earning capacity, emotional
                  21   distress, etc. combined with a claim for attorney’s fees and punitive damages, was
                  22   sufficient to exceed the $75,000 minimum required to establish diversity jurisdiction,
                  23   even though Plaintiff had only specified $13,000 in damages from lost income at the
                  24   time of removal); Thompson v. Big Lots Stores, Inc., No. 1:16-cv-01464-LJO-JLT,
                  25   2017 WL 590261 (E.D. Cal. 2017) (finding that pregnancy discrimination claim
                  26   praying for economic damages and unspecified emotional distress, punitive damages,
                  27   and attorney’s fees satisfied the amount in controversy required to establish diversity
                  28   jurisdiction, even though the plaintiff had only incurred $27,027 in lost wages at the
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                   1   time of removal).
                   2           39.   This Court has original jurisdiction over the case pursuant to 28 U.S.C.
                   3   §§ 1332(a) and 1441(a), on the basis that the amount in controversy exceeds the
                   4   requisite $75,000, exclusive of interest and costs.
                   5   V.      The Requirements of 28 U.S.C. § 1446 Are Met
                   6           40.   In accordance with 28 U.S.C. § 1446(a), this Notice of Removal is filed
                   7   in the District Court of the United States in which the action is pending. The
                   8   Superior Court of California, County of Los Angeles is located within the Central
                   9   District of California. Therefore, venue is proper in this Court, pursuant to 28 U.S.C.
                  10   84(c), because it is the “district and division embracing the place where such action
                  11   is pending.” 28 U.S.C. § 1441(a).
                  12           41.   In accordance with 28 U.S.C. § 1446(b), Defendants’ Notice of
                  13   Removal was filed within 30 days after service of the Complaint.
                  14           42.   In accordance with 28 U.S.C. § 1446(a), Attachments A through C,
                  15   attached hereto, contain copies of all process, pleadings, and orders served upon
                  16   Plaintiff, Defendants, or the Court.
                  17           43.   In accordance with 28 U.S.C. § 1446(d), Defendants will give written
                  18   notice of the original removal of this action to Plaintiffs via their counsel and file a
                  19   copy of that Notice with the Superior Court of California, Los Angeles County.
                  20           44.   In the event this Court has a question regarding the propriety of this
                  21   Notice of Removal, Defendants request that the Court issue an Order to Show Cause
                  22   so that Defendants may have an opportunity to more fully brief the basis for this
                  23   removal.
                  24   ///
                  25   ///
                  26   ///
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                   1   VI.      Conclusion
                   2            45.   Defendants respectfully remove the above-referenced action to this
                   3   Court.
                   4

                   5   DATED: January 13, 2022                 OGLETREE, DEAKINS, NASH, SMOAK &
                                                               STEWART, P.C.
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                   7

                   8                                           By: /s/ Graham Hoerauf
                                                                   Evan R. Moses
                   9                                               Graham M. Hoerauf
                  10                                           Attorneys for Defendants
                                                               AUTOZONERS LLC and AUTOZONE
                  11                                           DEVELOPMENT LLC
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